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LESLIE A. FARBER, LLC
        ATTORNEYS AT LAW                                                 ACADEMY SQUARE
                                                                   33 PLYMOUTH STREET, SUITE 204
                                                                  MONTCLAIR, NEW JERSEY 07042-2607
                                                                             973.509.8500 x 213
                                                                             973.860.1174 (fax)

                                                                      E-mail: LFarber@LFarberLaw.com
                                                                      Web page: www.LFarberLaw.com




                                                          June 6, 2018


  Patrick J. Cerillo, Esq.
  4 Walter Foran Boulevard, Suite 402
  Flemington, NJ 08822

          Re:     Malibu Media v. Tim McManus
                  Case No. 2:17-cv-01321-WJM-MF

  Dear Mr. Cerillo:

  Defendants are in receipt of plaintiff’s responses to defendants’ Interrogatories and Notice to
  Produce Documents and find them wholly deficient in many respects as identified below. Please
  provide complete responses within the next ten (10) days to avoid intervention by the Court.

  Request for Production of Documents (Notice to Produce)

  1.      Plaintiff’s response is improper as it fails to provide a privilege log and supply any non-
  privileged documents. Moreover, any non-privileged documents concerning the alleged
  infringements in this case certainly are relevant.

  2.      A fee agreement and other documents between the plaintiff and a witness is neither
  attorney work product, nor overbroad since defendant is entitled to see the manner and amount
  the witness is being paid, especially if it is a contingency fee arrangement. Moreover, defendant
  only seeks such documents related to this case. Disclosure of these documents is specifically
  subject to disclosure per FRCP 26(b)(4)(C)(i).

  3.       Plaintiff’s objection that proof of copyright registration is irrelevant or inadmissible is
  totally frivolous. It has been almost two (2) months since plaintiff said it will produce these
  documents, but none have been forthcoming. Supply the requested documents immediately.

  4.      Licensing and distribution agreements are relevant to whether or not another person or
  entity had permission to use the allegedly copyrighted works and upload them to a BitTorrent
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which is the essence of several of defendant’s affirmative defenses. Defendant would agree for
these documents subject to a protective order.

5.      Sales information is relevant both to plaintiff’s allegation that it seeks to actually protect
the copyrighted worked that it sells or licenses through its website (as opposed to being merely a
copyright troll), and to see which foreign persons or entities are uploading the works to
BitTorrent website(s). Defendant agrees to limit the time period to 2 years before and 1 year
after plaintiff filed its Complaint in this case.

6.     If plaintiff actually tracked defendant downloading plaintiff’s works, it certainly would
know which BitTorrent sites the works were downloaded from. Provide a complete response top
this Request.

7.    Despite the fact that plaintiff’s objections are groundless and frivolous, it has been nearly
2 months since plaintiff stated that it would provide the requested documents.

8-9. Nothing in the FRCP 26(b)(4)(C) prevents disclosure of the investigative documents
which form the basis of plaintiff’s Complaint. Provide a complete response top this Request.

10.    It has been almost two (2) months since plaintiff said it will produce the ISP’s subpoena
response, but none have been forthcoming. Supply the requested documents immediately.

11.   Defendant is willing to supply plaintiff with a protective order for the release of all
agreements between Malibu Media and IPP.

12.     Nearly two (2) months ago, plaintiff said it will produce “one PCAP per each work
infringed, .tar files, .torrent files, any technical reports generated by Excipio, the MySQL log file,
and the Additional Evidence,” but nothing has been produced to date. Supply the requested
documents immediately.

13.     According to the Wikipedia description of “Torrent file,” “announce” is “the URL of the
tracker.” See https://en.wikipedia.org/wiki/Torrent file . Obviously, Malibu Media or its expert
vendor has access to this.

14.    Although plaintiff may not be in control of software used by plaintiff’s vendor, plaintiff
purportedly relied on this software in forming the basis for the allegation in plaintiff’s Complaint.
Therefore, plaintiff is required to provide this.

15.    Whether or not the request documents or files sought are also in defendant’s possession
Excipio is plaintiff’s expert/vendor relied on by plaintiff in making the allegations in plaintiff’s
Complaint. Therefore, plaintiff is required to produce this.

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16.    Plaintiff’s response to this request is non-responsive and frivolous. Respond with the
requested documents which clearly are discoverable.

17.    Plaintiff’s response to this request is non-responsive and frivolous. Respond with the
requested documents which clearly are discoverable.

19.   Nearly 2 months ago, plaintiff stated that it would provide Mr. Paige’s expert report and
engagement agreement, but neither has been forthcoming. Supply the requested documents
immediately.

21.     “Torrent descriptor” is defined in the 2nd paragraph of the Wikipedia entry for BitTorrent.
See https://en.wikipedia.org/wiki/BitTorrent. Certainly Malibu Media and its vendors and
experts are familiar with this common term.

22-23, 26-27-28.      Plaintiff’s objections are frivolous since these requests are for documents
tending or disprove the allegations in plaintiff’s Complaint. Nearly 2 months ago, plaintiff said it
would produce the requested documents, but none have been forthcoming. Supply the requested
documents immediately.

29.     There is nothing vague or overbroad about this request since it requests documents related
to the allegations in plaintiff’s Complaint.

30.    Nearly 2 months ago, plaintiff said it would produce the requested documents, but none
have been forthcoming. Supply the requested documents immediately.

32.     Plaintiff is required to produce a log of all documents which plaintiff claims are
privileged. Plaintiff still has failed to produce a privilege log.

33.    There is nothing overly broad or burdensome to seeking non-privileged communications
concerning the alleged infringements in THIS case. Obviously this is relevant and admissible
evidence or could lead to admissible evidence. Also, plaintiff failed to provide a privilege log.

34.     Plaintiff again fails to provide a log of any the documents sought which plaintiff alleges
are privileged. Also types of the requested communications are not considered privileged per
FRCP 26(a)(B), but none were provided. Moreover, nearly 2 months ago, plaintiff stated that it
would provide Mr. Paige’s expert report and engagement agreement, but neither has been
forthcoming. Supply the requested documents immediately.

37.     Although plaintiff itself may not be in physical possession of the requested item, it
certainly is in control of it since plaintiff’s investigator would have this. Plaintiff is responsible
for obtaining this, especially when the entity is beyond the subpoena reach of this Court.

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38.     Plaintiff does not get to decide what is relevant or inadmissible. The requested documents
are both relevant and admissible since the applications are likely to contain useful information
about the films plaintiff claims are copyrighted works.

39.     Excipio is plaintiff’s vendor/expert and who plaintiff allegedly relied on for the
allegations in plaintiff’s Complaint. Since plaintiff has access to the requested documents,
defendant is not required to go to third parties, especially when such parties coincidentally are
beyond the subpoena reach of this Court.

40.    The requested documents are relevant to what other persons or entities may have been in
the same swarms in which this defendant allegedly downloaded plaintiff’s works, for which
defendant is entitled to an offset in the amount of any settlements or judgments involving the
same film(s). Plaintiff would agree to a confidentiality/protective order for the production of
these documents.

41.    Plaintiff failed to supply any declaration from Michael Patzer. Please do so immediately.

42.    Since plaintiff claims to be legitimately in the business of selling subscriptions to stream
or download videos from its website, it is beyond credulity that plaintiff would fail to keep a
record of such streams and downloads. Supply the requested documents.

43.    Since plaintiff and its experts are in the business, they would know that “hash collisions”
are commonly defined as “different keys that are assigned by the hash function to the same
bucket.” See, e.g., https://en.wikipedia.org/wiki/Hash table Provide the requested documents.

45.    Nearly 2 months ago, plaintiff said it would produce the requested documents, but none
have been forthcoming. Supply the requested documents immediately.

46.    The requested documents are relevant to what other persons or entities may have been in
the same swarms in which this defendant allegedly downloaded plaintiff’s works, for which
defendant is entitled to an offset in the amount of any settlements or judgments involving the
same film(s). Nearly 2 months ago, plaintiff said it would produce the requested documents, but
none have been forthcoming. Supply the requested documents immediately

47.     Plaintiff’s response is improper as it fails to provide a privilege log and supply any non-
privileged documents. Nevertheless, since plaintiff itself is not associated with the IP address
identified in plaintiff’s Complaint, no communications requested could possibly be privileged.
Whether or not defense counsel already has some or all of the requested documents is irrelevant.

48.     There is nothing vague about this request. Nevertheless, by common English language
definitions, “every other download” would consist of downloads of plaintiff’s work by persons
other than this defendant. Supply the requested documents.

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49.    By plaintiff’s response, plaintiff is admitting to spoliation of evidence.

53.     Excipio is plaintiff’s vendor/expert and who plaintiff allegedly relied on for the
allegations in plaintiff’s Complaint. Since plaintiff has access to the requested documents,
defendant is not required to go to third parties, especially when such parties coincidentally are
beyond the subpoena reach of this Court.

55.     Excipio is plaintiff’s vendor/expert and who plaintiff allegedly relied on for the
allegations in plaintiff’s Complaint. Since plaintiff has access to the requested documents,
defendant is not required to go to third parties, especially when such parties coincidentally are
beyond the subpoena reach of this Court.

57.     Whether or not defendant also has the documents or materials requested has nothing to do
with plaintiff’s obligation to respond to this request. Moreover, it is crucial to see just plaintiff
claims it obtained from defendant’s computer. Respond with the requested documents and
materials immediately.


Interrogatories

2.      The requested information is relevant to what other persons or entities may have been in
the same swarms in which this defendant allegedly downloaded plaintiff’s works, for which
defendant is entitled to an offset in the amount of any settlements or judgments involving the
same film(s). Despite the fact that defendant would not be able to obtain the information sought
from Pacer, whether or not defendant might be able to obtain the information from another
source is irrelevant. Supply the requested information.

3.      The requested information is relevant to what other persons or entities may have been in
the same swarms in which this defendant allegedly downloaded plaintiff’s works, for which
defendant is entitled to an offset in the amount of any settlements or judgments involving the
same film(s). Despite the fact that defendant would not be able to obtain the information sought
from Pacer, whether or not defendant might be able to obtain the information from another
source is irrelevant. Whether plaintiff is seeking statutory damages has nothing to do with this.
Supply the requested information. Any information sought which is subject to a confidentiality
order can be resolved by way of protective order.

4.     Even if plaintiff does not have the IP address, U.S. District Court, case number, and
names for each person or entity, plaintiff must supply the information for the ones it does have.

5.     Even if plaintiff does not have the IP address, U.S. District Court, case number, and
names for each person or entity, plaintiff must supply the information for the ones it does have,
including IPP International UG.

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6-9. Excipio is plaintiff’s vendor/expert and who plaintiff allegedly relied on for the
allegations in plaintiff’s Complaint. Since plaintiff has access to the requested documents,
defendant is not required to go to third parties, especially when such parties coincidentally are
beyond the subpoena reach of this Court. Further, no declaration of Michael Patzer was
supplied.

10.    Plaintiff’s answer to this Interrogatory is non-responsive since defendant asks for a
description of each step in the process. Provide a fully responsive answer to this Interrogatory.

12.     Defendant’s answer to this Interrogatory is clearly frivolous and the information sought
clearly is relevant since seeking a description of the evidence plaintiff has of completed
download is obviously relevance to defendant’s defenses regarding de minimis downloads or
infringements.

14.     Plaintiff does not get to decide whether file sizes are relevant or whether it makes sense
for a person to download part or all of a movie file, and whether that comports with the supposed
purpose of BitTorrent. Excipio is plaintiff’s vendor/expert and who plaintiff allegedly relied on
for the allegations in plaintiff’s Complaint. Since plaintiff has access to the requested
documents, defendant is not required to go to third parties, especially when such parties
coincidentally are beyond the subpoena reach of this Court.

15.     Merely referring to allegations in plaintiff’s Amended Complaint is unresponsive to this
Interrogatory. Moreover, no declaration of Michael Patzer was supplied. Provide a fully
responsive answer to this Interrogatory.

16.    No declaration of Michael Patzer was supplied. Nearly 2 months ago, plaintiff said it
would produce the requested documents, but none have been forthcoming.

17.    The information is quite relevant to see whether any of plaintiff’s affiliates or experts is
involved, and there is nothing burdensome about this.

18.     Obviously, this Interrogatory was not referring to any unapproved locations. Provide a
fully responsive answer.

19.     The information sought relates to which or person or entity might have seeded plaintiff’s
alleged works. Therefore, the information sought is relevant and can be provided under a
protective order to maintain confidentiality.

21.     Plaintiff’s objection is clearly frivolous since plaintiff is well acquainted with the legal
definition of the word “admission.” Nevertheless, Blacks’s Law Dictionary defines “admission”
as “A voluntary acknowledgment, confession, or concession of the existence of a fact or the truth
of an allegation made by a party to the suit.”

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22.    Even though plaintiff is not required to produce a copy of the statement, plaintiff is
required to provide the name and address of the person who made the statement, as well as
information as to who was present, whether it was in writing, etc. This information is not
attorney work product.

                                                     Very truly yours,


                                                     Leslie A. Farber

LAF:beg




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